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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 EASTERN DIVISION

JOHNNY BANKS                                                                        PLAINTIFF

V.                                 CASE NO. 4:18CV00259BSM

SHELBY HAWKINS; CITY OF
SHANNON HILLS                                                                   DEFENDANTS


        DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S SECOND
 STATEMENT OF UNDISPUTED MATERIAL FACTS OR IN THE ALTERNATIVE
  MOTION TO EXTEND THE DEADLINE FOR RESPONDING TO PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT AND MOTION TO EXTEND DEFENDANTS’
 DEADLINE TO FILE A REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT

       COME, Defendants Shelby Hawkins and City of Shannon Hills, by and through counsel,

Sara Monaghan, and for their Motion to Strike Plaintiff’s Second Statement of Undisputed

Material Facts or in the Alternative Motion to Extend the Deadline for Responding to Plaintiff’s

Motion for Summary Judgment and Motion to Extend Defendants’ Deadline to File a Reply to

Plaintiff’s Response to Defendants’ Motion for Summary Judgment, state:

       1.       The current dispositive motion deadline in the present case was August 13, 2019.

       2.       On August 13, 2019, the Plaintiff filed a Motion for Summary Judgment, a Brief in

Support and a Statement of Undisputed Material Facts [Doc. 51].

       3.       On August 19, 2019, the Plaintiff filed a second Statement of Undisputed Material

Facts [Doc. 55] out of time without showing good cause and without the court’s consent as required

by Federal Rule of Civil Procedure 16, and therefore, Plaintiff’s Second Statement of Undisputed

Material Facts [Doc. 55] should be stricken from the record.

       4.       In the alternative, should the court deny Defendants’ Motion to Strike Plaintiff’s

Second Statement of Undisputed Material Facts, Defendants request an extension of time to
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respond to Plaintiff’s Motion for Summary Judgment and Brief in Support until September 2,

2019, which would be the deadline to respond to the Plaintiff’s Second Statement of Undisputed

Material Facts.

       5.         Further, undersigned counsel currently has a response to a motion for summary

judgment due in Case No. 2:18cv2163PKH, and two answers due on two new case assignments,

and therefore the Defendants request an extension of time to file their reply to Plaintiff’s Response

to Defendants’ Motion for Summary Judgment to September 2, 2019.

       WHEREFORE, Defendants respectfully request that their Motion be granted and for all

other just and proper relief to which there is entitlement.



                                                      Respectfully submitted,

                                               BY:    Sara Monaghan
                                                      Ark. Bar No. 2005276
                                                      Attorneys for Defendants
                                                      P.O. Box 38
                                                      North Little Rock, AR 72115
                                                      TELEPHONE: 501-978-6122
                                                      FACSIMILE: 501-537-7262
                                                      EMAIL: smonaghan@arml.org
